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                                  STATEMENT OF FACTS
        1.     Your affiant, Andrew McCabe, is a Federal Bureau of Investigation Special Agent
assigned to the Cincinnati Field Office. In my duties as a special agent, I am responsible for
investigating violent crime, crimes against children, and domestic terrorism. Currently, I am
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a FBI Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal
criminal laws.

        2.     The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.
                                          Background

        3.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to
keep the crowd away from the Capitol building and the proceedings underway inside.

       5.      At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
however, around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including
by breaking windows and by assaulting members of the U.S. Capitol Police, as others in the
crowd encouraged and assisted those acts.

        6.      Shortly thereafter, at approximately 2:20 p.m. members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the
joint session of the United States Congress was effectively suspended until shortly after 8:00
p.m. Vice President Pence remained in the United States Capitol from the time he was evacuated
from the Senate Chamber until the sessions resumed.
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       7.      During national news coverage of the aforementioned events, video footage
which appeared to be captured on mobile devices of persons present on the scene depicted
evidence of violations of local and federal law, including scores of individuals inside the U.S.
Capitol building without authority to be there.
                               Identification of WILLIAM DUNFEE

         8.      On or about February 3, 2021, a tipster provided a screen capture of comments
made on the Facebook group “Here We Go with Jeremy Herrell,” which read, “Amen Brother.
My local ministry group was there and members of our group ‘stormed’ the Capital for a redress
of our grievances. Leading the way was Pastor Bill. We as Christinas have the duty to overthrow
evil.” Later the same tipster posted, “Just a clarification… Pastor Bill and several others of our
group made into the interior doors of the Capital. They pushed back and forth with the police.
They talked to the officers and told them why they were there. Not to harm or destroy. They
wanted to talk to the Congress. When an officer came back and said that wasn’t possible, they
tried to force the doors open. They were pepper sprayed and were stopped.” The tipster also
identified Bill Dunfee as being the pastor at the New Beginning Misistries Warsaw church.

      9.     The FBI subsequently identified WILLIAM DUNFEE as the pastor of New
Beginnings Ministries Warsaw, a church located in Warsaw, Ohio.

        10.    On or about February 26, 2021, the Cincinnati FBI began an investigation in order
to determine if DUNFEE was the individual referenced in Facebook group post.

        11.     On or about March 2, 2021, database checks were completed for DUNFEE and
agents identified five possible cellular telephone numbers associated with him, including phone
number x0353. According to records obtained by search warrant from Google, a mobile device
associated with phone number x0353 was present at the U.S. Capitol on January 6, 2021.1

       12.      According to records obtained by subpoena from TracFone Wireless, phone
number x3053 was subscribed in the name of DUNFEE’s business partner in Cross Builders, a
construction company located in Coshocton, Ohio. A publicly available website for Cross
Builders lists DUNFEE and his business partner as the owners of Cross Builders and attributes
phone number x0353 to DUNFEE.

       13.      Your affiant obtained DUNFEE'S Ohio Driver's License Photo. A review of open-
source video footage and closed-circuit video (CCV) footage from the U.S. Capitol building of
the events of January 6, 2021, revealed DUNFEE present in various locations in Washington,
D.C., and in the restricted area of the U.S. Capitol grounds (see photographs 1 and 2 below). In
the photographs, DUNFEE is seen wearing a dark colored jacket, and a dark colored hat with a

1
 Google estimates device location using sources including GPS data and information about nearby Wi-Fi
access points and Bluetooth beacons. This location data varies in its accuracy, depending on the source(s)
of the data. As a result, Google assigns a “maps display radius” for each location data point. Thus, where
Google estimates that its location data is accurate to within 10 meters, Google assigns a “maps display
radius” of 10 meters to the location data point. Finally, Google reports that its “maps display radius”
reflects the actual location of the covered device approximately 68% of the time.
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distinctive oval emblem on the front and gold design on the bill. Your affiant viewed these
pictures and compared them to the Ohio Driver’s License photograph of DUNFEE and
determined them to be the same person.
                       Photograph 1                       Photograph 2




        14.     On March 22, 2021, in response to a message left at the New Beginnings
Ministries, DUNFEE contacted the FBI using phone number x0353. During a telephonic
interview, DUNFEE stated that he attended the rally in Washington, D.C., on January 6, 2021.
DUNFEE claimed that he did not know anyone else who attended the rally except for the people
who were in his group, whom he declined to identify. DUNFEE then stated that he had spoken
to his attorney and did not wish to answer further questions at that time.

       15.     On or about July 3, 2021, the FBI National Threat Operations Center (NTOC)
received additional information from a tipster concerning DUNFEE. Specifically, photographs
were provided showing DUNFEE inside the restricted areas of the U.S. Capitol grounds (see
photograph 3). Your affiant has reviewed this photograph and compared it to the Ohio Driver’s
License Photograph of DUNFEE and found it to be the same person wearing the same distinctive
hat described above.
                                          Photograph 3




       16.      On September 1, 2021, another online tip was submitted to the FBI
NTOC regarding DUNFEE'S activities at the U.S. Capitol on January 6, 2021.
Specifically, three images were provided showing DUNFEE physically resisting U.S. Capitol
Police by pushing against a metal barricade and entering the restricted areas of the U.S. Capitol
grounds (see photographs 4, 5, and 6, below). Your affiant reviewed these photographs and
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compared them to the Ohio Driver’s License Photograph of DUNFEE and found the person in
the pictures to be the same person.
                                        Photograph 4




                                        Photograph 5




                                        Photograph 6




        17.    On October 8, 2021, your affiant met with a Coshocton County Sheriff’s Office
Deputy who was familiar with DUNFEE from previous encounters and showed the deputy two
photographs (see photographs 7 and photograph 8) obtained by the FBI as part of its
investigation. The Deputy identified both images as DUNFEE.
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                    Photograph 7                           Photograph 8




        18.     During this investigation, your affiant has reviewed multiple open source videos
and CCV footage taken before, during, and after the January 6, 2021 riot at the U.S. Capitol. In
a number of these videos, DUNFEE can be seen and heard. In these videos, DUNFEE is seen
wearing tan boots, blue jeans, a grey, checkered pattern shirt, a black jacket with a white emblem
on the left breast with the word “CROSS,” and a black baseball hat with a distictive oval
emblem. Based on this review, your affiant has developed an approximate timeline of events in
which DUNFEE was involved.

         19.    On December 27, 2020, in a publicly available video posted on the New
Beginnings Ministries Warsaw Facebook page, DUNFEE told his congregation, “The
Government, the tyrants, the socialists, the Marxists, the progressives, the RINOs, they fear you.
And they should. Our problem is we haven’t given them reason to fear us.” Later, DUNFEE
stated, “As I said earlier in another previous sermon is this, they used to tell us, you know what,
you settle your differences at the ballot. How did that work out for us? It’s not over. November
the 4th through the 6th, we are heading to D.C. Who’s going with us? [Unidentified person:
January.] January 4th through 6th… Are you ready?”

        20.     On January 6, 2021, at approximately 9:23 am, DUNFEE is shown in a publically
available video standing in a raised flower bed on the East Plaza of the U.S. Capitol grounds (see
photograph 9 below). DUNFEE spoke into a bull horn and told the crowd, “This election has
been stolen right out from underneath of our noses and it is time for the American people to rise
up. Rise up. Rise up. Today is the day in which it is that these elected officials realize that we are
no longer playing games. That we are not sheeple that are just going to be [unintelligible]
according to [unintelligible].” Later in the video, DUNFEE stated, “We will stand up for our
country. We are standing up for our freedoms. We are standing up for our president. And today
is the day these elected officials, these senators and these congressmen, understand that we are
not going to allow this to continue any longer.” Later in the video, DUNFEE stated, “I am not
talking about any of the nonsense of burning buildings and destroying another man's property,
but they [elected officials] need to fear us.”
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                                           Photograph 9




       21.     At approximately 1:14 pm, DUNFEE is shown standing on a low wall outside the
barricades on the East side of the U.S. Capitol grounds speaking into a bull horn (see photograph
10 below). DUNFEE told the crowd, “They just objected to Arizona.” Your affiant believes
DUNFEE referenced the certification proceedings underway inside the U.S. Capitol at that time.
                                          Photograph 10




       22.     At approximately 1:21 pm, DUNFEE said, “Remember this. If they let us down
we are going to our house, [unintelligible] protect the Constitution [unintelligible], people in the
house. We are going to our house.” Your affiant compared the voice making the aforementioned
statements to that of DUNFEE and determined the voices to be the same.

        23.    At approximately 1:26 pm, DUNFEE said, “Reinforcements around back. If you
are able to move around back, they need some support around back.” Your affiant compared the
voice making the aforementioned statements to that of DUNFEE in publically available video
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posted on the New Beginnings Ministries Warsaw Facebook page and determined the voices to
be the same.

        24.    At approximately 1:28 pm, DUNFEE is seen speaking to the crowd on a bullhorn
(see photograph 11 below). DUNFEE told the crowd, “Donald Trump is leading. President
Trump is leading the crowd, [unintelligible] alright, [unintelligible], fight for Trump. Hold the
line.” The crowd then began to chant, “Fight for Trump.”
                                         Photograph 11




       25.     At approximately 1:35 pm, DUNFEE is seen holding a bullhorn (see photograph
12 below). DUNFEE stated, “Mister police officers, we want you to understand something. We
want you to understand something. We want Donald Trump and if Donald Trump is not coming,
we are taking our house. We are taking our house.” Your affiant believes DUNFEE informed
U.S. Capitol Police that the crowd of rioters would breach the U.S. Capitol by force if necessary.
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                                         Photograph 12




        26.    At approximately 1:44 pm, DUNFEE is observed pushing a metal barricade
against U.S. Capitol Police, who are attempting to hold the line. When the barricade is breached,
DUNFEE is seen advancing toward the U.S. Capitol Building before turning around and
returning behind the barricade (see photographs 13 and 14 below).
                Photograph 13                                   Photograph 14




        27.      Based on your affiants review of multiple videos taken from different angles,
this video corresponds to events captured by photographs 4, 5, and 6, previously listed above.

       28.     At approximately 1:52 pm, DUNFEE is seen standing in front of the barricades on
the East Front of the U.S. Capitol grounds speaking to the crowd on a bull horn (see photograph
15 below). DUNFEE claimed that he spoke to a U.S. Capitol Police officer and requested
permission for the crowd to go to the base of steps of the U.S. Capitol. DUNFEE stated, “We
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don’t want violence… We don’t want destruction and we don’t want you going to jail if you
don’t have to.”
                                        Photograph 15




        29.    At approximately 1:58 pm, DUNFEE is depicted in multiple videos pushing
against a metal barricade against U.S. Capitol Police on a second occasion. This time, DUNFEE
used his back to push against the barricade (see photographs 16 and 17 below).
            Photograph 16                                   Photograph 17




       30.     At approximately 1:20 pm, after the metal barricade was breached by rioters,
DUNFEE is depicted in multiple videos walking across the area on the East Front beyond the
barricades and advancing towards the U.S. Capitol Building with his hands raised (see
photographs 18 and 19 below).
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        Photograph 18                                      Photograph 19




        31.     At approximate 2:07 pm, DUNFEE is depicted in multiple videos at the front of
the crowd of rioters at the East Front entrance to the U.S. Capitol Building, also referred to as the
Columbus Doors (see photographs 20 and 21 below). DUNFEE can be heard telling rioters to
raise their arms as he walks toward a group of U.S. Capitol Police maintaining the line at the
East Front doors.
                    Photograph 20                                     Photograph 21




       32.     At approximately 2:18 pm, DUNFEE is depicted in a video outside the East Front
doors holding a bullhorn. DUNFEE tells the individual filming that he had just been pepper
sprayed.

       33.     At approximately 2:20 pm, DUNFEE is depicted in a video pushing his way
through the rioters and approaching the East Front doors again.

        34.      At approximately 2:23 pm, DUNFEE is depicted in a video standing against the
East Front doors in front of a large crowd of rioters after U.S. Capitol Police deployed chemical
agents (see photograph 22 below). DUNFEE then walks away from the East Front doors, as
other rioters attempt to breach the U.S. Capitol Building.
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                                          Photograph 22




        35.     At approximately 2:47 pm, DUNFEE is depicted in a video outside the East Front
doors after that entrance to the U.S. Capitol had been breached. Other rioters can be seen exiting
the U.S. Capitol building. An unidentified male with a wearing a red hat with a blue neck gator
and a black jacket exits the building and stated, “We did it. We got our job done.” DUNFEE
made an unintelligible reply. The unidentified male responded, “We did it, we shut ‘em all down.
We did our job.” DUNFEE responded, “Hallelujah.” A short time later, DUNFEE told the crowd
of rioters, “Mission accomplished.” Your affiant believes DUNFEE advised the crowd that the
riot had been successful in disrupting and delaying the certification proceeding, which had been
ongoing inside the U.S. Capitol.

        36.      In a publicly available video posted on May 30, 2021, to the New Beginnings
Ministries Warsaw Facebook page (see photograph 23 below), DUNFEE told his congregation,
“We show up January 6th at the Capitol Building right? To let it be known that we are not going
to stand back and let an election be stolen. That we are going to hold our legislators accountable,
and so on and so forth? And what did that get us? Huh? We are all deemed what? Huh? Bunch of
terrorists, right?” Later DUNFEE stated, “I can tell you, having been there [at the U.S. Capitol],
that um, we were surrounded by patriots. Many, many, many, many patriots. And I thank god
they showed up to um, just to let it be known, that you know, what the bottom line is this, that
um, you are not stealing this election. You’re not going to rob us, deprive us of a democracy, of a
republic, without us being heard.”
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                                          Photograph 23




        37.     Based on the foregoing, your affiant submits that there is probable cause to
believe that WILLIAM DUNFEE violated 18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in
fact, impedes or disrupts the orderly conduct of Government business or official functions;
(4) knowingly engages in any act of physical violence against any person or property in any
restricted building or grounds; or attempts or conspires to do so. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

        38.     Your affiant submits there is also probable cause to believe that WILLIAM
DUNFEE violated 40 U.S.C. § 5104(e)(2)(D), which makes it a crime to willfully and knowingly
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and 40 U.S.C. § 5104(e)(2) (F) which makes it a crime to engage in an
act of physical violence in the Grounds or any of the Capitol Buldings.

        39.    Your affiant submits there is probable cause to believe that WILLIAM DUNFEE
violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act
to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in
the lawful performance of his official duties incident to and during the commission of a civil
disorder which in any way or degree obstructs, delays, or adversely affects commerce or the
movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected
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function means any function, operation, or action carried out, under the laws of the United
States, by any department, agency, or instrumentality of the United States or by an officer or
employee thereof. This includes the Joint Session of Congress where the Senate and House count
Electoral College votes.

       40.    Finally, your affiant submits there is probable cause to believe that WILLIAM
DUNFEE violated 18 U.S.C. § IS12(c)(2), which makes it a crime to obstruct, influence, or
impede any official proceeding, or attempt to do so. Under 18 U.S.C. § ISIS, congressional
proceedings are official proceedings.




                                                    ANDREW D. McCABE

                                                    Federal Bureau ofInvestigation



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone, this 30th day of September 2022.

                                                                           Digitally signed by Moxila A.
                                                                           Upadhyaya
                                                                           Date: 2022.09.30 16:02:31
                                                                           -04'00'

                                                    MOXILA A. UPADHY AYA

                                                    U.S. MAGISTRATE JUDGE
